            Case 1:18-cv-02567-BAH Document 3 Filed 11/21/18 Page 1 of 6


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    BUZZFEED, INC., et al.,

                         Plaintiffs,
                                                      Civil Action No. 18-2567 (BAH)
                         v.
                                                      Chief Judge Beryl A. Howell
    FEDERAL BUREAU OF INVESTIGATION,

                         Defendant.

                              STANDING ORDER FOR CIVIL CASES

             THIS ORDER CONTROLS THIS CASE SO READ CAREFULLY.
To help “secure the just, speedy, and inexpensive determination of” this action, FED. R. CIV. P. 1,
the parties are hereby ORDERED to comply with the following directions:

1.       REMOVED ACTIONS
         a. A defendant removing an action to this Court must refile any answer filed before
            removal and promptly ensure that all parties receive a copy of this Standing Order.
         b. Any motion pending in the court from which the case is removed at the time of
            removal must be refiled in this Court by the party seeking relief. See FED. R. CIV. P.
            81(c)(2). Motions that are not refiled will be deemed withdrawn and not considered.

2.       COMMUNICATIONS WITH CHAMBERS
         Except as authorized in this Order, the parties may not contact Chambers by telephone.
         If extraordinary circumstances or emergencies so require, however, counsel may contact
         Chambers jointly via telephone conference. Chambers will not provide legal advice of
         any kind.

3.       DUTY TO CONFER, INCLUDING FOR CASES EXEMPTED BY LOCAL CIVIL
         RULE 16.3(b) 1
         a. Timing. Generally, the parties must meet and confer after any defendant first files an
            answer. See FED. R. CIV. P. 26(f). The parties must file the Joint Meet and Confer
            Report required by Local Civil Rule 16.3(d) within thirty days after any defendant
            files an answer or, if dispositive motions are filed pursuant to Federal Rule of Civil
            Procedure 12(b), within fourteen days after resolution of dispositive motions, unless
            the Court orders otherwise. Later-served or joined parties are required to comply
            with the Scheduling Order entered based on the original Joint Meet and Confer
            Report, unless, upon motion, they seek modification of such Order.

1
        The Local Civil Rules are available at http://www.dcd.uscourts.gov/court-info/local-rules-and-
orders/local-rules.

                                               Page 1 of 6
       Case 1:18-cv-02567-BAH Document 3 Filed 11/21/18 Page 2 of 6


     b. Exempted Cases. Notwithstanding that the requirement to confer and submit a Joint
        Meet and Confer Report does not apply to certain exempted cases, see FED. R. CIV. P.
        26(a)(1)(B) and LCvR 16.3(b), in the following categories of exempted cases, an
        abbreviated Joint Meet and Confer Report is required:
           i.   In any action for review on an administrative record, counsel for the parties
                shall jointly prepare and submit a report to the Court, within fourteen days
                after any defendant files an answer, proposing a schedule for the filing of the
                administrative record and any motions.
          ii. In any action arising under the Freedom of Information Act (“FOIA”), 5
                U.S.C. § 552, counsel for the parties shall jointly prepare and submit a report
                to the Court, within fourteen days after any defendant files an answer,
                indicating whether the agency has made a final determination “whether to
                comply” with any FOIA request at issue, § 552(a)(6)(A)(i). If such a final
                determination has been made, the parties shall propose a schedule for the
                filing of dispositive motions. If no such final determination has been made,
                the joint report shall contain (1) an estimate provided by the defendant of
                when the agency expects a final determination to be made; and (2) a proposed
                schedule for the filing of dispositive motions.
     c. Report Contents. The Joint Meet and Confer Report in cases subject to Local Civil
        Rule 16.3(d) must address all matters listed in Federal Rule of Civil Procedure
        26(f)(2) & (3) and Local Civil Rule 16.3(c), and must also include:
           i.   a brief statement describing the nature of the case and the statutory basis of
                the Court’s jurisdiction for all causes of action and defenses;
          ii.   a proposed scheduling order in accordance with Local Civil Rule 16.3(d); and
         iii. any request for a conference with the Court before entry of the Scheduling
                Order.

4.   INITIAL STATUS CONFERENCE AND ISSUANCE OF SCHEDULING ORDER
     After submission of the Joint Meet and Confer Report, the Court will, if necessary,
     schedule an initial status conference to address matters that are not addressed or agreed to
     by the parties in the Joint Meet and Confer Report. As soon as practicable after
     submission of the Joint Meet and Confer Report or following the Initial Status
     Conference, the Court will issue a Scheduling Order governing proceedings in the case.
     See FED. R. CIV. P. 16(b); LCvR 16.4.

5.   MOTIONS – GENERALLY
     a. Format. Motions and submissions should be double-spaced, in 12-point, Times New
        Roman font, with page numbers and margins of no less than 1 inch. All citations
        must include exact page references (pincites). Absent leave of the Court, memoranda
        of points and authorities in support of, and in opposition to, motions may not exceed
        45 pages, and reply memoranda may not exceed 25 pages. See LCvR 7(e). All
        electronically filed documents are to be in text-searchable Portable Data Format
        (“PDF”). Likewise, exhibits that must be scanned because they exist only in paper
        format should, if possible, be submitted as text-searchable files using Optical
        Character Recognition (“OCR”) technology, available in Adobe Acrobat.
     b. Sur-Replies: A party may not file a sur-reply without first obtaining leave of the
        Court and may do so only upon a specific showing of good cause.


                                          Page 2 of 6
       Case 1:18-cv-02567-BAH Document 3 Filed 11/21/18 Page 3 of 6


     c. Oral Argument. A party may include a request for oral argument in its motion,
        opposition, or reply papers and, if this request is granted, counsel will be advised of
        the argument date. See LCvR 7(f).
     d. Duty to Confer Regarding Non-Dispositive Motions. Local Civil Rule 7(m), which
        requires counsel to confer before filing a non-dispositive motion and to include in the
        motion confirmation that such conferral occurred and a statement whether the motion
        is opposed, will be strictly enforced. See LCvR 7(m). Failure to comply with Local
        Civil Rule 7(m) when filing a non-dispositive motion may result in said motion being
        stricken.
     e. Motions to Amend Pleadings. Any amended pleading shall be accompanied by a
        redline comparison between the original and the amended or proposed amended
        pleading.
     f. Motions for Summary Judgment. This Court strictly enforces Local Civil Rule 7(h)
        when resolving motions for summary judgment and will “assume that facts identified
        by the moving party in its statement of material facts are admitted, unless such a fact
        is controverted in the statement of genuine issues filed in opposition to the motion.”
        LCvR 7(h); see also FED. R. CIV. P. 56(e).
     g. Motions to Seal. A party must submit a redacted version, suitable for filing on the
        public docket, of any document that it proposes to seal at the same time the party files
        a motion to seal. If a party believes that all portions of a sealed document must
        remain sealed, the party must specifically notify the Court of that belief at the time of
        filing the motion to seal.
     h. Pro Se Parties. In a case involving a pro se party, electronic filing procedures will be
        followed by parties represented by counsel only. Absent separate order of the Court,
        the party appearing pro se shall continue to file documents in paper form with the
        Clerk’s Office. Parties represented by counsel must serve documents upon pro se
        parties in paper form.
     i. Requests Other Than Ultimate Relief Referenced in Complaint. Requests other than
        for ultimate relief that are referenced in the Complaint, such as requests for an
        extension of time to seek class certification or for a temporary restraining order, shall
        be made in a motion separate from the Complaint. See, e.g., LCvR 75.1(a). Such
        motions shall be accompanied by a statement of the specific points of law and
        authority that support the motion, including, where appropriate, a concise statement
        of facts. LCvR 7(a).

6.   MOTIONS FOR EXTENSION OF TIME OR RESCHEDULING HEARING
     a. Motion Required. Extensions or enlargements of time will be granted only upon
        motion, and not upon stipulation by the parties. Motions for extensions of time or
        for continuances of court proceedings are strongly discouraged. Counsel and parties
        should work within the time frames set by the Scheduling Order.
     b. Timing and Content. When good cause is shown, the Court will consider a motion
        for time extension or continuance of a proceeding that is filed at least 4 days prior to
        the deadline and states:
           i.   the original date of the deadline the motion is seeking to extend or the date of
                the scheduled hearing the motion is seeking to continue;
          ii. the number of previous extensions of time or continuances granted to each
                party;
         iii. the good cause supporting the motion;

                                          Page 3 of 6
       Case 1:18-cv-02567-BAH Document 3 Filed 11/21/18 Page 4 of 6


          iv.    the effect, if any, that the granting of the motion will have on existing
                 deadlines;
          v.     for motions, suggested deadlines (reached in consultation with the opposing
                 party) for the filing of any opposition and reply papers; for continuances, three
                 alternative dates and times that are convenient to all parties; and
         vi. the opposing party’s position on the motion, including any reasons given for
                 refusing to consent, see LCvR 7(m).
     c. Opposition. A party opposing a motion for an extension of time or continuance of a
        scheduled hearing date must file, by 5:00 PM of the business day after the motion
        is filed, the party’s reasons for opposing the motion. If no such explanation is
        provided to the Court within this time frame, the motion shall be deemed conceded.
        Informing the opposing party that the motion for an extension or continuance is
        opposed does not constitute an explanation to the Court.
     d. Untimely motions. Untimely motions for an extension must contain an explanation
         for the failure to comply with the four-day rule.

7.   DISCOVERY DISPUTES
     a. Telephone Conference. The Court expects the parties to follow the requirements of
        Federal Rule of Civil Procedure 26 and Local Civil Rule 26.2. Before bringing a
        discovery dispute to the Court’s attention, the parties must confer in good faith in an
        attempt to resolve the dispute informally. If unable to resolve the dispute informally,
        the parties shall jointly prepare an email to send to the Court, at
        Howell_Chambers@dcd.uscourts.gov, requesting a teleconference with the Court and
        including a clear, concise description of the issues in dispute.
     b. Leave of Court Required. Before filing a motion relating to a discovery dispute, a
        party must obtain leave of the Court. Failure to comply with this requirement may
        result in any such motion being stricken.

8.   SETTLEMENT
     The Court expects the parties to evaluate the case for purposes of settlement. Toward
     that end, the parties may, by motion, request referral for mediation to a Magistrate Judge
     or the Court’s mediation program. The parties may also seek relief, by motion, from a
     Scheduling Order for arbitration, early neutral evaluation, or any other form of alternative
     dispute resolution that may be tailored to the needs of the case. If the case settles, in
     whole or in part, plaintiff’s counsel must promptly file a notice with the Court.

9.   JOINT PRETRIAL STATEMENT
     a. Timing. The parties must file with the Court a Joint Pretrial Statement at least 14
        days before the final pretrial conference unless the Court sets another filing date.
        See LCvR 16.5(a).
     b. Contents. In accordance with Local Civil Rule 16.5(b), (d), and (e), the Joint Pretrial
        Statement must include:
           i.  a one-paragraph joint statement of the case that is appropriate to be read to the
               jury and describes the nature of the case and the identities of the parties;
          ii. the estimated length of the evidentiary portion of the trial;
         iii. a statement of claims setting forth each claim a party has against any other
               party and the statutory basis of the Court’s jurisdiction for all causes of action;


                                          Page 4 of 6
  Case 1:18-cv-02567-BAH Document 3 Filed 11/21/18 Page 5 of 6


    iv.   a statement of defenses setting forth each defense raised by a party to a claim
          asserted against it;
      v.  a list of witnesses (including expert and potential rebuttal witnesses)
          anticipated to be called by each party, accompanied by a brief description of
          each witness’s expected testimony and the anticipated time for such testimony
          on direct, followed by specific objections (if any) to each witness;
     vi.  a list of exhibits that each party intends to offer during trial and separately
          identifying exhibits that may be offered if the need arises, followed by
          specific objections (if any) to each exhibit, which exhibit list shall be in a
          format with six columns, with separate headings for: (1) exhibit number,
          (2) description of exhibit, (3) marked for identification, (4) admitted in
          evidence, (5) objection, and (6) witness/date;
    vii. a designation of depositions, or portions thereof, to be offered into evidence
          by each party. To facilitate the Court’s review and ensure clarity of the record
          regarding the Court’s ruling on each objection posed by any party to the
          opposing party’s transcript designation or cross-designation, any objections to
          a designation shall be set out in a chart for each deposition, which chart shall
          be in a format with eight columns that identifies, for each transcript
          designation to which objections are lodged, IN TRANSCRIPT PAGE
          NUMBER ORDER: (1) the sequential number to be associated with the
          objection; (2) identification of the page and line of the transcript designations
          offered; (3) the party offering the transcript designation; (4) the party
          objecting to the transcript designation; (5) the Federal Rule of Evidence relied
          upon for the objection and a brief explanation by the objecting party; (6) a
          brief rebuttal by the proponent of the transcript designation; (7) a column,
          which the parties shall leave blank, with the heading “Sustained”; and (8) a
          second column, which the parties shall leave blank, with the heading
          “Overruled”;
   viii. an itemization of damages setting forth each element of damages and the
          monetary amount thereof (including prejudgment interest, punitive damages,
          and attorney’s fees) sought;
     ix. a description of other relief sought by each party;
      x. stipulations concerning authenticity of documents, admissibility of exhibits or
          testimony, or undisputed facts;
     xi. a description of each specific item of demonstrative evidence, physical
          evidence, or videotape evidence that will be offered at trial and any
          objections; and
    xii. a list of any motions in limine that are pending to address issues the parties
          reasonably anticipate will arise at trial. See infra ¶ 10 regarding the timing
          for briefing on motions in limine.
c. Jury Cases. In jury cases, the parties must submit as part of the Joint Pretrial
   Statement:
       i. proposed voir dire questions that indicate:
             I.    the voir dire questions on which the parties agree; and
            II.    the voir dire questions on which the parties disagree, with specific
                   objections noted below each disputed question and supporting legal
                   authority (if any);
      ii. the text of each proposed jury instruction that indicates:

                                     Page 5 of 6
        Case 1:18-cv-02567-BAH Document 3 Filed 11/21/18 Page 6 of 6


                    I.  the instructions on which the parties agree;
                   II.  the instructions on which the parties disagree, with specific objections
                        noted below each disputed instruction and supporting legal authority
                        (if any); and
                 III.   the proposed instruction’s source (e.g., Standardized Civil Jury
                        Instructions for the District of Columbia) or, for modified or new
                        instructions, the supporting legal authority.
          iii. a proposed verdict form, as well as proposed special interrogatories (if any),
                that includes date and signature lines for the jury foreperson.
      d. Non-Jury Cases. In non-jury cases, the plaintiff, or plaintiffs jointly, shall file
         proposed findings of fact and conclusions of law within three days of the close of
         evidence, and the defendant, or defendants jointly, shall file proposed findings of fact,
         which include specification of any facts proposed by the plaintiff that are admitted or
         controverted, and conclusions of law within five days of the close of evidence, unless
         otherwise ordered by the Court upon request of the parties.

10.   MOTIONS IN LIMINE.
      a. Timing. Motions in limine shall be fully briefed at the time of filing of the parties’
         Joint Pretrial Statement. Accordingly, the moving party’s motion in limine and
         supporting memorandum shall be filed and served upon the opposing party at least 21
         days before the Joint Pretrial Statement is due. The opposition shall be filed and
         served upon the moving party within 14 days of service of the motion in limine. Any
         reply shall be due within 7 days of service of the opposition. Oral argument on
         motions in limine, if necessary, shall occur at the Pretrial Conference.

      SO ORDERED.

      DATE: November 21, 2018


                                                           BERYL A. HOWELL
                                                           Chief Judge




                                           Page 6 of 6
